 

 

 

Case 3:16-bk-02230-JAF Doc102 Filed 07/22/16 Pageiof8

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

In re: Case No. 3:16-bk-2230-PMG

RMS Titanic, Inc., et al.,

Debtors. Chapter 11

ORDER ON MOTION FOR ORDER AUTHORIZING THE DEBTORS
TO MARKET AND SELL CERTAIN TITANIC ARTIFACTS FREE AND CLEAR
OF LIENS, CLAIMS, AND INTERESTS

THIS CASE came before the Court for hearing to consider the Debtors’ Motion for Order
Pursuant to Bankruptcy Code Sections 105 and 363 and Bankruptcy Rules 6003, 6004, and 9014
Authorizing the Debtors to Market and Sell Certain Titanic Artifacts Free and Clear of Liens, Claims,
and Interests. (Docs. 28, 69).

A Chapter 11 debtor may sell property of the estate free and clear of “any interest” of another
entity in the property, subject to the conditions provided by §363(f) of the Bankruptcy Code.

Under Rule 7001 of the Federal Rules of Bankruptcy Procedure, an action to determine the
validity or extent of a lien “or other interest in property,” or an action to obtain a declaratory judgment
relating to the validity or extent of an interest in property, should be filed as an adversary proceeding.

Fed.R.Bankr.P. 7001(2),(9).

 

 

 

 
Case 3:16-bk-02230-JAF Doc 102 Filed 07/22/16 Page 2 of 8

In this case, the Debtors assert that they own approximately 5,500 artifacts from the Titanic
salvage site. In the current Motion, the Debtors propose to market and sell certain items from the
division of artifacts known as the French Collection, free and clear of any liens or interests. The
Debtors acknowledge, however, that (1) they had agreed with French officials “not to carry out any
commercial transaction concerning such objects nor any sale of any one of them nor any transaction

entailing their dispersion,” (2) that the agreement is a restriction on their ability to transfer the French

 

Artifacts, and (3) that the market views the Debtors as lacking clear title to convey the French

| Artifacts.

Under these circumstances, it appears that third parties, including the French Government, may
assert an “interest” in the French Artifacts within the meaning of §363(f) and Rule 7001. Accordingly,
the Debtors’ request to market and seil the French Artifacts free and clear of “any interest” in the
property should be filed as an adversary proceeding under Rule 7001.

Background

On June 14, 2016, the Debtor, RMS Titanic, Inc., and seven affiliates filed petitions under
Chapter 11 of the Bankruptcy Code. On the same date, the Debtor filed a Motion for Joint
Administration, and the Court has approved the joint administration of the eight cases. (Docs. 2, 77).

In their Case Management Summary, the Debtors describe their operations as including the
following:

Debtors own approximately 5,500 Titanic artifacts recovered from the wreck site 2
% miles below the ocean’s surface that the Debtors have the right to present at its
exhibitions. In 1994, a federal district court declared RMST “salvor-in-possession” of
the Titanic wreck and wreck site, and, as such, the Debtors have the exclusive right to
recover additional objects from the Titanic wreck site. Through the Debtors’

explorations, they have obtained and are in possession of the largest collection of data,
information, images and cultural materials associated with the Titanic shipwreck.

 

 

 

 

 

 
 

Case 3:16-bk-02230-JAF Doc 102 Filed 07/22/16 Page 3 of 8

(Doc. 8, § 7).

| Six days after the petition date, on June 20, 2016, the Debtors filed the Motion “to Market and
Sell Certain Titanic Artifacts Free and Clear of Liens, Claims, and Interests” that is currently before -
the Court. (Doc. 28). According to the Motion, the Debtors’ total Titanic collection consists of the
French Artifacts or the French Collection, and the American Artifacts or the American Collection.

| The French Collection includes approximately 2,100 artifacts that were recovered during a joint
| expedition with the French Government’s oceanographic institute in 1987, The French Collection was

awarded to the Debtor by an Administrator in the French Office of Maritime Affairs in 1993. (Doc.

 

28, 77).

The American Collection includes more than 3,000 additional artifacts that were recovered during
expeditions in 1993, 1994, 1996, 1998, 2000, and 2004. The Debtors claim ownership of the
American Collection pursuant to a 1994 Order by the United States District Court for the Eastern
District of Virginia which declared the Debtor “to be the salvor-in-possession of the wreck and wreck
site.” (Doc. 28, 7] 8, 9).

In the Motion for authority to sel! certain artifacts, the Debtors assert that they have “no intent to

 

|

| sell a narrow subset of artifacts from the French Collection to pay the creditors in full, return all equity

pursue a sale of artifacts from the American Collection.” Instead, they contend that they “seek only to

positions to the Debtors’ shareholders, and possibly fund some or all of the Titanic reserve account.”
(Doc. 28, § 25).
The United States Trustee and the United States, on behalf of the Department of Commerce, filed

| separate Objections to the Debtors’ Motion to Sell the French Artifacts. (Docs. 67, 73).

 

 
i

 

 

Case 3:16-bk-02230-JAF Doc102 Filed 07/22/16 Page 4 of 8

Discussion

Generally, §363(b) provides that a Chapter 11 debtor may sell property of the estate, other than in
the ordinary course of business, after notice and a hearing. 11 U.S.C. §363(b).

If the debtor asks for approval to sell its property free and clear of any liens or interests, however,
the proposed sale is governed by §363(f) of the Bankruptcy Code. Under §363(f}, the debtor may sell!
property free and clear of “any interest” in the property, subject to the conditions provided by that
section. 11 U.S.C, §363¢f).

| In this case, the Debtors’ Motion is brought pursuant to §363 of the Bankruptcy Code, and seeks
to market and sell certain French Artifacts “free and clear of liens, claims, and interests.” The Motion
should be denied, but the Debtors should be permitted to file their request as an adversary proceeding
pursuant to the Federal Rules of Bankruptcy Procedure,

A. Rule 7001

Part VII of the Federal Rules of Bankruptcy Procedure governs adversary proceedings in
bankruptcy cases, and incorporates a number of the Federal Rules of Civil Procedure. “Rule 7001
designates which proceedings are adversary proceedings.” In re Biery, 2014 WL 1431947, at 4
(Bankr. E.D. Ky).

Rule 7001. Scope of Rules of Part VII.

An adversary proceeding is governed by the rules of this Part VIL The following
are adversary proceedings:

(2) a proceeding to determine the validity, priority, or extent of a lien or other
interest in property, other than a proceeding under Rule 4003(d);

 
Case 3:16-bk-02230-JAF Doc 102 Filed 07/22/16 Page 5of8

(9) a proceeding to obtain a declaratory judgment relating to any of the foregoing.
Fed.R.Bankr.P. 7001(2),(9)(Emphasis supplied), Under this Rule, a request to determine an interest in
property should be brought by filing an adversary proceeding, and not by a motion. In re Fairfax

Homes, Inc., 2014 WL 804772, at 1 (Bankr. D.D.C.). Courts are generally reluctant to summarily

 

determine a party’s rights to property as part of a bankruptcy motion. In re Eastman Kodak Company,
\) 2012 WL 2255719, at 2 (Bankr. §.D.N.Y).
\ . Adversary proceedings provide procedural safeguards for those types of actions
specified in Bankruptcy Rule 7001 that Congress deemed to impact the rights and
| property of non-debtors in such a way as to warrant additional procedural protections,

| Cf Janc v. Coordinating Bd. For Higher Educ. (In re Janc), 251 B.R. 525, 545 (Bankr.
W.D. Mo. 2000)(‘Rule 7001, ef seg, provides the necessary procedural mechanisms by
which the bankruptcy court may exercise its jurisdiction over issues that Congress
recognized implicate the rights and property of non-debtors beyond the scope of
| ordinary debts”).
I In re Phile, 490 B.R. 250, 257 (Bankr. 8.D. Ohio 2011). Adversary proceedings provide greater
| procedural protections by establishing specific steps grounded in principles of due process. In re
Whitehall Jewelers Holdings, Inc., 2008 WL 2951974, at 6 (Bankr. D. Del.).
B. The Debtors’ request
In this case, the Debtors propose to market and sell certain French Artifacts under §363 of the
Bankruptcy Code, free and clear of liens, claims, and interests. Under the circumstances of this case,
| however, it appears that (1) third parties, including the French Government, may assert an “interest” in
the French Artifacts within the meaning of §363, and that (2) any such “interest” warrants the

procedural safeguards of an adversary proceeding under Rule 7001. The Court reaches this conclusion

for at least three reasons.

 

 
Case 3:16-bk-02230-JAF Doc 102 Filed 07/22/16 Page 6 of 8

First, the Debtors acknowledge that they had “agreed to make use of such objects in conformity
with the respect due the memory of their initial owners and to not carry out any commercial transaction
concerning such objects nor any sale of any one of them nor any transaction entailing their dispersion,
if not for the purposes of an exhibition.” (Doc. 28, § 7).

\ The assurances were made in a letter to French officials in 1993, when the Debtors were seeking
an award of the French Artifacts, and the agreement was recognized by the Fourth Circuit Court of
Appeals in R.M.S. Titanic, Inc, v. The Wrecked and Abandoned Vessel, 435 F.3d $21, 528 (4” Cir.

2006). The Fourth Circuit also noted that the Debtors’ predecessor made a commitment in the 1993

 

letter that “the artifacts will only be used [for] a cultural purpose and will not, therefore, be part of any
operations which would lead to their dispersion, but to the exception of exhibition purposes, and none
of the artifacts will be sold.” R.M.S. Titanic v. The Wrecked and Abandoned Vessel, 435 F.3d at 527.
Second, the Debtors acknowledge that the agreement is a restriction on their ability to transfer the
French Artifacts. At the hearing on their Motion to market and sell certain French Artifacts, for
| example, the Debtors asserted they have title to the French Artifacts based on the award from the
| French officials in 1993, but that their ownership is subject to a “limitation on transferability” arising
out of their agreement with the French agency. In other words, the Debtors recognize that the French
Government holds a “limitation on the transferability” of the Artifacts, but claim that the restriction is

|

distinguishable from a property interest in the French Collection.

 

_ Third, the Debtors acknowledge that the market views the Debtors as lacking clear title to convey
the French Artifacts. As stated by the Debtors:

Although the Debtors have absolute title to the French Artifacts, there is_a
perception in the market that the Debtors cannot sell the French Artitacts, let alone sell
them free and clear of any liens, encumbrances or restrictions. This is fueled in part by

 

 
Case 3:16-bk-02230-JAF Doc102 Filed 07/22/16 Page 7 of8

NQAA’s stated interpretation of the Covenants and Conditions imposed by the EDVA
Court. Consequently, most of the venerable auction houses best suited to sell such
valuable property have for years refused to commence an auction selling individual
artifacts unless or until all questions regarding title are answered. The same is true for
\ private individuals and legal entities who have expressed interest in a private treaty sale
involving one or more of the artifacts, The existence of the Covenants and Conditions,
which as a matter of law do not apply to the French Artifacts, has frozen the Debtors’
efforts to present this court with a stalking horse bidder, or to commence any
meaningful process to identify specific artifacts to be sold, a process in which to sell
| them, or prospective purchasers.

(Doc. 79, | 2)(Emphasis supplied). The Covenants and Conditions referred to by the Debtors are the
“Covenants and Conditions for the Future Disposition of Objects Recovered from the RMS Titanic by
RMS Titanic, Inc. Pursuant to an In Specie Salvage Award Granted by the United States District Court
for the Eastern District of Virginia.” (Doc. 81, United States’ Exhibit 2).

| C, Conclusion

\ In conclusion, the Debtors acknowledge that (1) they had agreed with French officials not to carry
|| out a commercial transaction concerning the French Artifacts “nor any sale of any one of them nor any

transaction entailing their dispersion,” (2) that the agreement is a restriction on their ability to transfer

the French Artifacts, and (3) that the market views the Debtors as lacking clear title to convey the

 

French Artifacts,

For at least these reasons, it appears that third parties, including the French Government, may
| assert an “interest” in the French Artifacts within the meaning of §363(f) of the Bankruptcy Code.
Under Rule 7001, an action to determine the validity or extent of a lien or “other interest in

| property” should be filed as an adversary proceeding, because it may impact the rights and property of

 

a non-debtor in such a way as to warrant additional procedural protections. See In re Phile, 490 B.R. at

257.

 

 
 

. | Case 3:16-bk-02230-JAF Doc102 Filed 07/22/16 Page 8of8

| as an adversary proceeding under Rule 7001 of the Federal Rules of Civil Procedure.

In this case, therefore, the Debtors’ request to market and sell the French Artifacts should be filed

Accordingly:
IT IS ORDERED that the Debtors’ Motion for Order Pursuant to Bankruptcy Code Sections 105
and 363 and Bankruptcy Rules 6003, 6004, and 9014 Authorizing the Debtors to Market and Sell

Certain Titanic Artifacts Free and Clear of Liens, Claims, and Interests is denied, without prejudice,

|} DATED this 2A day of 2016.
| BY THE COURT

| he Atm
PAUL M. GLENN
United States Bankruptcy Judge

 

 
